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  7   Attorneys for Defendant Rob Bonta,
      In his official capacity as Attorney
  8

  9                             IN THE UNITED STATES DISTRICT COURT

 10                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

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 13
      JUNIOR SPORTS MAGAZINES INC. ET
 14   AL.,                                                     DECLARATION OF KEVIN J. KELLY
                                                               IN SUPPORT OF DEFENDANT’S
 15                                                       ,    OPPOSITION TO PLAINTIFFS’
                                                               MOTION FOR PRELIMINARY
 16                  v.                                        INJUNCTION

 17   ROB BONTA, IN HIS OFFICIAL                               Date:              August 22, 2022
      CAPACITY AS ATTORNEY GENERAL                             Time:              10:00 a.m.
 18   OF THE STATE OF CALIFORNIA ET AL.,                       Courtroom:         8D
                                                               Judge:             Christina A. Snyder
 19                                                            Action Filed:      July 8, 2022

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                          Kelly Decl. in Supp. of Defs.’ Opp’n to Pls.’ Mot. for Prelim. Inj. (2:22-cv-04663-CAS (JCx))
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  1   I, KEVIN J. KELLY, declare:

  2          1.    I am a Deputy Attorney General with the California Department of Justice, Office of

  3   the Attorney General, and an attorney for Defendant Rob Bonta, in his official capacity as

  4   Attorney General of the State of California (“defendant”) in this matter. I am an attorney at law

  5   duly licensed to practice before all courts of the State of California and admitted to practice

  6   before the United States District Court for the Central District of California. I have personal

  7   knowledge of the facts set forth below and if called as a witness, I could and would competently

  8   testify to them.

  9          2.    This declaration is made in support of Defendant’s Opposition to Plaintiffs’ Motion

 10   for Preliminary Injunction.

 11          3.    Exhibit A is a true and correct copy of Violence Policy Center, Start Them Young

 12   (2016). The document is available on the Violence Policy Center’s website at:

 13   https://vpc.org/studies/startthemyoung.pdf.

 14          4.    Exhibit B is a true and correct copy of Jason E. Goldstick, Ph.D. et al, Current

 15   Causes of Death in Children and Adolescents in the United States, 386 NEW ENG. J. MED. 1955

 16   (2022). A copy is available on the New England Journal of Medicine’s website at

 17   https://www.nejm.org/doi/full/10.1056/NEJMc2201761.

 18          5.    Exhibit C is a true and correct copy of Matthew A. Lapierre, Ph.D. et al., The Effect

 19   of Advertising on Children and Adolescents, 140 PEDIATRICS S152 (2017). A copy is available on

 20   the American Academy of Pediatrics’ website at:

 21   https://publications.aap.org/pediatrics/article/140/Supplement_2/S152/34178/The-Effect-of-

 22   Advertising-on-Children.

 23          6.    On or about August 8, 2022, I visited the official website of Everytown Research &

 24   Policy. From there, I viewed and saved a copy of #NotAnAccident Index, available at

 25   https://everytownresearch.org/maps/notanaccident. A true and correct copy is annexed hereto as

 26   Exhibit D.

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                          Kelly Decl. in Supp. of Defs.’ Opp’n to Pls.’ Mot. for Prelim. Inj. (2:22-cv-04663-CAS (JCx))
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  1   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

  2   correct.

  3   Executed on: August 8, 2022
  4

  5                                                                   /s/ Kevin J. Kelly
                                                                      KEVIN J. KELLY
  6                                                                   Deputy Attorney General
  7   SA2014119177
      FINAL JSM v Bonta - Kelly Dec.doc
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                               Kelly Decl. in Supp. of Defs.’ Opp’n to Pls.’ Mot. for Prelim. Inj. (2:22-cv-04663-CAS (JCx))
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